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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

                                              :
JOHN WILLIS COX
                                              :

       v.                                     :    Civil Action No. DKC 12-0231
                                                   Criminal Action No. 08-328
                                              :
UNITED STATES OF AMERICA
                                              :

                                  MEMORANDUM OPINION

       Presently pending and ready for resolution in this case are

motions       filed    by    Petitioner      John     Willis         Cox   (“Mr.        Cox”   or

“Petitioner”)          for   reduction       of   sentence       (ECF       No.     705),1     to

vacate, set aside, or correct his sentence under 28 U.S.C. §

2255 (ECF No. 748), and to amend his habeas petition (ECF No.

817).        The issues have been fully briefed, and the court now

rules, no hearing being deemed necessary.                             Local Rule 105.6.

For the following reasons, all three motions will be denied.

I.     Background

       As a result of extensive drug-related criminal activities,

Petitioner       was    charged      with    multiple        charges       in   a      six-count

multi-defendant superseding indictment.                        Specifically, on August

31,     2009,    a     grand    jury      returned       a     superseding          indictment

charging      Petitioner       and   others       with    conspiracy        to      distribute

five       kilograms    or   more    of     cocaine      and    50    grams       or    more   of

       1
       All citations to electronic court filings refer to the
docket in the criminal case.
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cocaine       base    between      February       2007     and    February     2009,      and

charging him individually in five other substantive counts with

drug trafficking and firearms offenses.                           (See     ECF No. 339).

Multiple          attorneys      were   appointed         to     represent     Petitioner

throughout the course of the case; Robert Waldman eventually was

appointed to represent Petitioner, and indeed represented him

through the remainder of the case.

        On October 19, 2009, the court scheduled an eight week

trial to begin on April 6, 2010.                   (ECF No. 409).           On March 11,

2010,       the    trial   for    the   then-eight        remaining       defendants      was

rescheduled to begin on May 4, 2010.                        (See ECF No. 459).             On

April 29, 2010, Petitioner signed a plea agreement and appeared

for a Rule 11 hearing.                  (See ECF No. 503).                At the Rule 11

hearing held on April 29, 2010, Petitioner pled guilty to counts

one and six of the superseding indictment, charging him with

conspiracy to distribute and possess with intent to distribute

cocaine and cocaine base in violation of 21 U.S.C. § 846 (count

one), and possession of a firearm by a felon, in violation of 18

U.S.C. § 922(g) (count six).2

        In the plea agreement, the parties stipulated to a base

offense level of 34 as to the drug conspiracy because Mr. Cox

was responsible for 15 kilograms but less than 50 kilograms of

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       The court granted the Government’s oral motion to dismiss
counts 1 and 2 of the original indictment and counts 2 through 5
of the superseding indictment. (See ECF No. 660).
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cocaine.      (See ECF No. 758-3, at 4).              The parties agreed that if

it was determined that Petitioner was a career offender, the

offense    level      would    be     37.         (Id.).       A    two-level      upward

adjustment applied because Mr. Cox possessed a dangerous weapon.

As for the firearms offense, the parties stipulated to a base

offense    of    24   because       Mr.     Cox   committed        the   offense      after

sustaining two convictions of a controlled substance offense.

The plea agreement stated that the drug and gun offenses are

closely related offenses pursuant to U.S.S.G. § 3D1.2(c).                                The

plea agreement further advised that the Government would not

oppose a two level reduction in Petitioner’s adjusted offense

level based on acceptance of responsibility.                             Earlier in the

case,   the     Government     filed      a   notice       informing      the   court     of

Petitioner’s two prior felony convictions.                         (See ECF No. 229).

In exchange for Petitioner’s guilty plea, the Government agreed

to withdraw the notice of the two prior felony drug convictions.

(ECF No. 758-2, at 23).

     On May 2, 2011, Petitioner was sentenced to 168 months

imprisonment on count one, to run concurrently with 120 months

imprisonment on count six, followed by five years of supervised

release on count one, to run concurrently with three years on

count six.      (ECF No. 661).

     On    September     15,    2011,         Petitioner      filed      a   motion      for

reduction of sentence pursuant to 18 U.S.C. § 3582.                             (ECF No.

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705).        He received correspondence on September 19, 2011 advising

him that the court “is examining the retroactive application of

the guidelines and is developing a mechanism to provide counsel

to those who may benefit from the Amendment.”                          (ECF No. 706).

Petitioner        filed   the    instant     habeas    petition        on    January     24,

2012.        (ECF No. 748).       The Government opposed the motion, (ECF

No. 758), and Petitioner replied (ECF No. 761).                                  On July 2,

2013, Petitioner moved to amend his motion to vacate, set aside,

or correct sentence.             (ECF No. 817).             The Government did not

respond to that motion.3

II.     Motion to Vacate, Set Aside, or Correct Sentence

        A.      Standard of Review

        28      U.S.C.    §     2255     requires      a     petitioner           asserting

constitutional error to prove by a preponderance of the evidence

that “the sentence was imposed in violation of the Constitution

or laws of the United States, or that the court was without

jurisdiction to impose such sentence, or that the sentence was

in excess of the maximum authorized by law.”                           If the Section

2255        motion,   along   with     the   files    and    records        of    the   case,

conclusively shows that petitioner is not entitled to relief, a




        3
       Petitioner has since written to the court inquiring about
the applicability of Amendment 782 to his situation.    (ECF No.
824).   He was advised that the Federal Public Defender would
look into filing a motion on his behalf, if appropriate.    (ECF
No. 825).
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hearing on the motion is unnecessary and the claims raised in

the motion may be summarily denied.         See 28 U.S.C. § 2255(b).

     B.   Analysis

     Petitioner asserts two grounds for relief in the instant

motion.   First, he argues that the court should resentence him

pursuant to the Fair Sentencing Act of 2010 (“FSA”).              Second, he

contends that his attorney, Mr. Waldman, rendered ineffective

assistance by not giving him time to review the plea agreement,

pressuring him into pleading guilty, and assuring him that he

would receive a lower sentence than he actually received.

     1.   Fair Sentencing Act

     Petitioner argues that the FSA applies retroactively to his

case and that his sentence should be reduced to reflect the new

ratio for crack cocaine.     Petitioner contends, in relevant part:

          The   Fair   Sentencing    Act   of   2010   []
          established a[n] 18-1 ratio of crack to
          powder cocaine.    Applying this ratio to the
          Petitioner’s   464.4    grams  of   crack   the
          conversion to marijuana is 1440 kilograms of
          marijuana.    This added to the converted
          amount of powder cocaine the Petitioner is
          held responsible for in the Plea Agreement,
          will result in a Guideline of 30 [and] a
          potential 120 month sentence.      []Petitioner
          was sentence[d] to the 120 month mandatory
          minimum for the gun charge, which was
          concurrent    with     [the]   drug     charge.
          Therefore, in the re-sentencing the combined
          sentence should result in a sentence of 120
          months.

(ECF No. 748, at 21).



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      Petitioner’s      arguments   are      misplaced.       Judge     Hollander

explained:

             The purpose of the FSA and the related
             amendments    to      the    guidelines     [i.e.,
             Amendments 748 (eff. Nov. 1, 2010), 750
             (eff. Nov. 1, 2011), and 759 (eff. Nov. 1,
             2011)] was to partially alleviate the so-
             called “crack v. powder disparity,” by which
             defendants who were convicted of a drug
             offense involving a given amount of cocaine
             base   (a.k.a.    “crack”)    were    exposed   to
             substantially higher guidelines sentences
             and   statutory      maximum     sentences    than
             defendants convicted of offenses involving
             the same amount of powder cocaine.             See
             United v. Bullard, 645 F.3d 237, 245 & n.4[]
             (4th Cir.), cert. denied, 132 S.C.t 356
             (2011).   The FSA lowered the disparity but
             did not eliminate it.        Id.    The disparity
             now corresponds to a weight ratio of
             approximately      18:1     (i.e.,     it    takes
             approximately    18    times   as    much   powder
             cocaine   as   crack     to   trigger     a  given
             statutory minimum sentence or guidelines
             base offense level); under prior law, the
             ratio was 100:1.          With respect to the
             Sentencing Guidelines, the reduction of the
             crack/powder disparity was accomplished by
             amending   the    “Drug    Quantity    Table”   in
             U.S.S.G. § 2D1.1(c), which establishes the
             base offense levels for conviction of an
             offense involving given quantities of any
             particular    controlled      substance.        In
             Amendment 759, the United States Sentencing
             Commission made the amendments to the Drug
             Quantity Table eligible for retroactive
             application via resentencing, pursuant to 18
             U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

United   States    v.   Schuyler,    Crim.    No.   ELH-98-259-13,        2013    WL

1707895, at *2 (D.Md. Apr. 19, 2013) (footnote omitted; emphasis

in   original).      In   Dorsey    v.   United     States,      132   S.Ct.     2321


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(2012),       the    Supreme    Court     determined          that       the    sentencing

amendments enacted pursuant to the FSA, were to be retroactively

applied.          Specifically, the Supreme Court noted that the “new

[mandatory]         minimums   apply     to       all   of   those       sentenced    after

August       3,    2010,”   even    if    the       underlying       criminal      conduct

occurred before that date.             Id. at 2336.

        As   the     Government    argues,         however,     although        Mr.   Cox’s

original plea offer included references to crack cocaine, those

references were all stricken from the plea before or during the

Rule 11 hearing.            (See ECF No. 758-3, at 4; see also ECF No.

758-2, at 14 (“Under the changes that we’ve made, Your Honor, we

should probably strike the reference to crack, and we can sig[n]

that.”).          The statement of facts to which Petitioner agreed

based his sentence entirely on his responsibility for between 15

and 50 kilograms of cocaine powder, not cocaine base (i.e.,

crack).       (ECF No. 758-4).       All references to crack were stricken

in the plea agreement and in the statement of facts to which

Petitioner agreed, including the 464.6 grams of crack figure

that    Petitioner      references       in       his   motion.          The   Presentence

Report reflected that Mr. Cox was responsible for at least 15

kilograms but less than 50 kilograms of cocaine, not cocaine

base.         Thus, Petitioner’s sentence was not based on the pre-

FSA crack cocaine penalty scheme or Sentencing Guidelines that

implemented those penalties.

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       2.     Ineffective Assistance of Counsel

       Claims of ineffective assistance of counsel are governed by

the well-settled standard adopted by the United States Supreme

Court in Strickland v. Washington, 466 U.S. 668 (1984).                                          To

prevail on a claim under Strickland, the petitioner must show

both that his attorney’s performance fell below an objective

standard       of     reasonableness        and         that     he     suffered           actual

prejudice.          See Strickland, 466 U.S. at 688.                         To demonstrate

actual      prejudice,        Petitioner         must     show        that    there        is     a

“reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.”

Id. at 694.

       In     the     Strickland         analysis,        there       exists         a     strong

presumption that counsel’s conduct falls within a wide range of

reasonably      professional           conduct,    and      courts       must    be        highly

deferential in scrutinizing counsel’s performance.                              Strickland,

466 U.S. at 688—89; Bunch v. Thompson, 949 F.2d 1354, 1363 (4th

Cir. 1991).         Courts must assess the reasonableness of attorney

conduct       “as     of   the    time    their     actions         occurred,            not    the

conduct’s consequences after the fact.”                        Frye v. Lee, 235 F.3d

897,    906    (4th    Cir.      2000).     “A     fair     assessment          of       attorney

performance requires that every effort be made to eliminate the

distorting          effects       of      hindsight,           to      reconstruct              the

circumstances of counsel’s challenged conduct, and to evaluate

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the     conduct      from     counsel’s            perspective       at     the    time.”

Strickland, 466 U.S. at 689.                   Furthermore, a determination need

not be made concerning the attorney’s performance if it is clear

that    no     prejudice    could       have    resulted    from     some    performance

deficiency.       See id. at 697.

       A     petitioner     who    pleads       guilty   has    an      especially       high

burden in establishing ineffective assistance of counsel.                                 As

the Supreme Court explained, “[t]he plea process brings to the

criminal justice system a stability and a certainty that must

not be undermined by the prospect of collateral challenges in

cases . . . where witnesses and evidence were not presented in

the first place.”            Premo v. Moore, 562 U.S. 115, 132 (2011).

Thus,      a   petitioner     alleging          ineffective      assistance       in     the

context of a guilty plea must meet a “substantial burden . . .

to avoid the plea[.]”             Id.

       The burden has not been met here.                     Petitioner asserts in

the instant motion that he did not understand the plea agreement

and counsel assured him that he would receive a substantially

lower sentence than he actually received.                      (ECF No. 748, at 23).

He further contends:

               Petitioner was not allowed the time to
               review, and think about, and ask questions
               about the Plea Agreement.    []Petitioner did
               answer    all   questions  in   the   court’s
               colloquy.    This has always been recognized
               as a rote agreement.        []Petitioner was
               induced to sign the Plea Agreement.      [He]

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              then was immediately rushed into court to
              plead guilty.    []Petitioner was instructed
              to answer yes to all questions posed by the
              court, by [] [P]etitioner’s counsel.

(Id.).      Petitioner signed the plea agreement on April 29, 2010,

the    same    date       that    he        appeared       at   the   Rule        11    hearing.

Petitioner     states       that       he    did     not    –   and   still       does     not    –

understand the terms of the plea agreement, that he did not have

time to read or understand it, and that his attorney indicated

to    him   when    he    signed       the    plea      agreement     that        he    would    be

sentenced “to a substantially lower sentence.”                          (Id. at 24).

       Petitioner’s contentions directly contradict statements he

made under oath during his Rule 11 colloquy.                           The United States

Court of Appeals for the Fourth Circuit has held that in the

absence       of     “extraordinary            circumstances,”              the        truth     of

statements         made    in    a      Rule       11      colloquy    is     “conclusively

established” and that a                 district court should “dismiss any §

2255     motion      that       necessarily          relies      on    allegations             that

contradict the sworn statements.”                          United States v. Lemaster,

403 F.3d 216, 221-22 (4th Cir. 2005); see also United States v.

Morrow, 914 F.2d 608 (4th Cir. 1990) (“[S]uch declarations made

in open court carry a strong presumption of veracity.”).

       During the guilty plea colloquy, the court explained the

charges to which Petitioner was pleading guilty.                                  (See ECF No.

758-2, at 5-6).           When asked whether he understood the charges,


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Petitioner responded in the affirmative.                    Moreover, Petitioner

provided the following responses when asked about his decision

to plead guilty and his satisfaction with counsel:

              Q: Other than what is written down, has
              anybody made any promise to you to convince
              you to plead guilty?

              A: No.

              Q: Have you been threatened in any way?

              A: No.

              Q: How many times did you meet with Mr.
              Waldman to talk about the plea in this case?

              A: Several.

              Q: Several times.    And I’m sure there were
              other times even before any such plea
              agreement was discussed.   Has he always had
              the time that you thought was necessary to
              talk with you about this case?

              A: Yes.

              Q: Has he answered all of your questions?

              A: Yes.

              Q: Are you satisfied with the help he has
              provided you in this case?

              A: Yes.

(ECF No. 758-2, at 29-30).             As indicated above, Petitioner was

specifically        asked    whether   anyone   made    promises     to    him    to

convince him to plead guilty and whether Mr. Waldman had spent

the    time    he      thought   was    necessary      in     consultation       with

Petitioner,         and     he   answered    affirmatively,        under     oath.

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Petitioner has done nothing to refute those statements in the

instant motion.           See, e.g., Marchante-Rivas v. United States,

Civ. Action NO. DKC 10-0063, Crim. No. DKC 05-0393, 2013 WL

1104071, at *4 (D.Md. Mar. 14, 2013) (“While he suggests in

conclusory fashion that additional investigation or consultation

was needed, he has provided no detail of what such investigation

would        have    revealed,     nor     does     he    explain      how     further

consultation would have resulted in him resisting the plea and

opting instead to proceed to trial.”).

        In    response    to     the    Government’s      opposition,      Petitioner

asserts       that   he   only    met    with     his    attorney     “three    times”

regarding his plea.            (ECF No. 761).       The Government attaches as

an exhibit to its opposition a document showing Mr. Waldman’s

billing records pertaining to his representation of Mr. Cox,

which further substantiates the representations Petitioner made

during the Rule 11 hearing under oath that his counsel invested

sufficient time into representing him.                     (See ECF No. 758-1).

According to the Government, Mr. Waldman asked the Government in

early March 2010 to make a formal plea offer to Mr. Cox, and the

billing records indicate that indeed, Mr. Waldman had a phone

call with Mr. Cox regarding a potential plea offer on May 12,

2010, and he also met with Mr. Cox at the Central Treatment

Facility on March 16, 2010.               (Id. at 4).        The billing records

further       indicate    that    Mr.    Waldman   and    Mr.   Cox    had   multiple

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meetings with the Government in March 2010, Mr. Waldman spoke

with Mr. Cox over ten times - in person or on the phone - and on

the days preceding his guilty plea, Mr. Waldman met with Mr. Cox

for over 2 ½ hours on April 27 and 28, 2010.                      (Id. at 4-5).

Accordingly, Petitioner’s assertions that he was “rushed” into

accepting          the   guilty   plea   or   did   not    have    a   sufficient

opportunity to discuss it with Mr. Waldman are belied by the

record, and further undermined by his own sworn representations

at the Rule 11 hearing.4

        Petitioner has not alleged any extraordinary circumstances

to justify the contradictions between his sworn statements and

his motion.          Compare United States v. White, 366 F.3d 291, 300

(4th        Cir.    2004)    (acknowledging      unique    and     extraordinary

circumstances where the Government conceded that the guilty plea

was involuntary), with Lasiter v. Thomas, 89 F.3d 699, 703 (10th

Cir. 1996) (holding that extraordinary circumstances requiring a


        4
       Petitioner also states in his reply to the Government’s
opposition that Mr. Waldman and the Government told him that if
he didn’t take the plea, he would go to trial and “they would
give me life in jail.” (ECF No. 761, at 1). Indeed, during the
plea hearing, the court explained: “[g]iven the fact that the
Government has filed a Notice of Prior Qualifying Convictions,
if you are found guilty of that offense, and if those alleged
convictions in the Notice are sustained, there would be a
mandatory life sentence that’s required on conviction.”     (ECF
No. 758-2, at 7) (emphasis added). Thus, insofar as Mr. Waldman
represented to Mr. Cox that if found guilty and if the notice of
prior qualifying convictions were sustained, he would be facing
a mandatory term of life imprisonment, this representation was
accurate.
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§   2255      hearing     did    not    exist       where   Petitioner’s              efforts    to

refute        statements         he     had      made        in         open      court        were

“unsubstantiated”).                   Because        Petitioner           has         failed     to

demonstrate         any    unprofessional            errors        by     his      counsel       or

prejudice resulting therefrom, his ineffective assistance claim

cannot prevail.

        C.     Motion to Amend the Habeas Petition

        The Government responded to the instant petition on May 1,

2012.        Petitioner moved to amend his habeas petition on July 2,

2013, over one year later.                   A one year statute of limitations

applies to the filing a Section 2255 petition.                            By July 2, 2013,

that    time     period     had       long    since    passed.            While        the   Rules

Governing Section 2255 Proceedings do not specifically address

the    procedure     for    amendments,         “courts       have       typically        applied

Federal Rule of Civil Procedure 15 to the amendment of a § 2255

motion.”        United States v. Pittman, 209 F.3d 314, 317 (4th Cir.

2000).         In   some        circumstances,        Rule        15(c)        will    allow    an

amendment that is otherwise barred by the statute of limitations

to relate back to the claims contained in the original filing.

“Relation back is permitted when the claim or defense asserted

in the amended pleading arose out of the conduct, transaction,

or occurrence set forth . . . in the original pleading.”                                        Id.

(quotation       marks     omitted).            Importantly,            “[t]he        fact     that

amended claims arise from the same [] sentencing proceeding as

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the original motion does not mean that the amended claims relate

back for purposes of Rule 15(c).”           Id. at 318; accord Mayle v.

Felix, 545 U.S. 644, 664 (2005).

     In his amended filing, Petitioner appears to challenge his

guilty plea as to count six of the superseding indictment –

felon in possession of a firearm in violation of 18 U.S.C. §

922(g).     Petitioner pled guilty to this count, but he states in

his motion for leave to amend that “a jury should have been the

one[] who would have decided after the facts who owned the gun

and its relevance. . . . The fact is, if true ownership of the

gun had been allowed, I would never have signed the plea.”                (ECF

No. 817, at 2).       The fact that Petitioner neglected to raise in

his initial petition any argument regarding his guilty plea to

count six of the superseding indictment (felon in possession of

a firearm) does not permit him to argue later that an otherwise

untimely proposed amendment relates back.               Indeed, Petitioner

seeks to assert a completely new claim, challenging his guilty

plea as to the firearms offense; this claim is unrelated to the

claims    made   in   his   original    habeas   petition,     which    argued

ineffective assistance of counsel and application of the FSA.

In sum, Petitioner’s motion to amend was untimely filed and the

claim he seeks to add does not relate back to the Section 2255

petition.    Thus, the claim is time barred.



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        In any event, Petitioner’s arguments essentially amount to

an attempt to withdraw his guilty plea well after-the-fact.                    His

contentions are largely belied by the record, which reflects a

satisfactory factual basis for the guilty plea on both counts

and that the plea colloquy was sufficient.              During the Rule 11

colloquy, Petitioner indicated that he understood that he was

pleading guilty to count six, felon in possession of a firearm:

            The Court: Okay.      You have indicated an
            intent also to plead concerning Count six.
            That count charges that on or about February
            25, 2009, in the District of Maryland, you,
            have been convicted of a crime punishable by
            imprisonment for a term exceed one year, did
            knowingly   and    unlawfully  possessed   a
            firearm, to wit a Highpoint model C nine
            millimeter semi-automatic hand gun, bearing
            a particular serial number and loaded with
            eight rounds of ammunition, in and affecting
            commerce.   That’s alleged to have violated
            Title 18 of the United States Code, section
            922(g)(1).   Do you understand the charge in
            Count six?

            The Defendant: Yes, ma’am.

(ECF No. 758-2, at 8).       At the Rule 11 hearing, Petitioner swore

under oath that the stipulated facts were true and agreed that

he was, in fact, guilty as charged.            The court reviewed, among

other     things,   the   allegations    of   the    firearms     count,       the

elements of the offense, the rights Petitioner was waiving by

pleading guilty, the maximum statutory penalty, the other terms

of the plea agreement, and the guideline stipulations.                Notably,

Petitioner also was advised that he had the right to plead not

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guilty “to all of these offenses.”                  (Id. at 9).            The court

noted:

            No one can make you come in here and enter a
            guilty plea.   If you plead not guilty, you
            are presumed to be innocent.     That means
            that you cannot be found guilty of any
            offense unless there is a trial at which
            your guilty is proven beyond a reasonable
            doubt.

(Id.).     When asked whether he understood all of the rights that

he was forfeiting by pleading guilty, Petitioner responded in

the affirmative.         (Id. at 10-11).

        Petitioner now attempts to argue that the gun found in his

home was not actually his.            Absent any credible evidence of his

innocence, Petitioner is bound by the representations he made

under     oath     and    may   not    attack      the     veracity        of    those

representations by way of a Section 2255 motion.                          See, e.g.,

United    States    v.    Bowman,   348    F.3d   408,    417      (4th   Cir.   2003)

(conclusory assertions of innocence do not justify withdrawal of

a guilty plea); Fields v. Attorney Gen. of Md., 956 F.2d 1290,

1299 (4th Cir. 1992) (“Absent clear and convincing evidence to

the contrary, a defendant is bound by the representations he

makes under oath during a plea colloquy”).

III. Motion for Reduction of Sentence

        Petitioner also moved under 18 U.S.C. § 3582(c) to modify

or reduce his sentence.         (ECF No. 705).        Under this provision, a

court may modify a sentence only:

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               1) upon motion of the Director of the Bureau
               of Prisons if “extraordinary and compelling
               reasons” exist; 2) if otherwise expressly
               permitted by statute or Federal Rule of
               Criminal   Procedure  35;  or   3)  if   the
               sentencing range is subsequently lowered by
               the Sentencing Commission.

Petitioner’s motion asserts that he is entitled to a reduced

sentence because of the passage of the FSA.                     He “request[s] that

he be given the benefit of the retroactive guidelines amendment,

which     reflects       a    less   harsh       and       ‘excessive’        so-called

crack/powder       cocaine     disparity        than      was    reflected      in      the

mandatory guidelines under which he was originally sentenced.”

(ECF No. 705, at 1).           Considering the conclusion above that the

FSA does not apply to Mr. Cox, this motion will be denied.

IV.     Certificate of Appealability

        Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. §§ 2254 or 2255, the court is required to issue

or deny a certificate of appealability when it enters a final

order adverse to the petitioner.               A certificate of appealability

is a “jurisdictional prerequisite” to an appeal “only if the

applicant has made a substantial showing of the denial of a

constitutional right.”          28 U.S.C. § 2253(c)(2).                Where the court

denies a petitioner’s motion on its merits, a prisoner satisfies

this    standard    by    demonstrating        that     reasonable      jurists      would

find     the    court’s      assessment    of     the       constitutional        claims




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debatable or wrong.           See Miller-El v. Cockrell, 537 U.S. 322,

336-38 (2003); Slack v. McDaniel, 529 U.S. 473, 484 (2000).

      Upon review of the record, the court finds that Petitioner

does not satisfy the above standard.                 Accordingly, the court

will decline to issue a certificate of appealability on the

issues which have been resolved against Petitioner.

V.    Conclusion

      For   the    foregoing      reasons,     Petitioner’s        motions      for

reduction of section and to vacate, set aside, or correct her

sentence    will   be   denied.       The   motion    to   amend    his   habeas

petition also will be denied.         A separate order will follow.



                                               /s/
                                     DEBORAH K. CHASANOW
                                     United States District Judge




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